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The Speaker of the Texas House of Representatives is the presiding officer of the Texas House of
Representatives.

For more information about the office and powers of the Speaker see Speaker of the Texas House of
Representatives.



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Republic of Texas
Speakers of the House of Representatives in the Congresses of the Republic of Texas.

          Name              Term in Office Congress
Ira Ingram                    1836--1837     1st
                                                                                       2:13-cv-193




                                                                                                     exhibitsticker.com
Branch Tanner Archer          1837                                                     09/02/2014
                                            2nd
Joseph Rowe                   1838
                                                                                       DEF0209
John M. Hansford              1838--1839    3rd
                                            4th
David Spangler Kaufman 1840--1841
                                            5th
Kenneth Lewis Anderson 1841--1842           6th
Nicholas Henry Darnell        1842--1843    7th
Richardson A. Scurry          1843--1844    8th
John M. Lewis                 1844--1846    9th


State of Texas
Speakers of the House of Representatives in the Legislatures of the State of Texas.
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                                                    Seal of the Speaker of the Texas
                                                    House of Representatives
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                                                                            Legislative
             Name             Party                 Term in Office
                                                                             Sessions
William Crump              Democratic 16 February 1846-3 March 1846
John Brown                 Democratic 3 March 1846-9 March 1846
Edward Thomas Branch       Democratic 9 March 1846-16 March 1846
                                                                            1st
William Crump              Democratic 16 March 1846-1 May 1846
William H. Bourland        Democratic 1 May 1846-before 13 May 1846
Stephen W. Perkins         Democratic before 13 May 1846-13 December 1847
J. W. Henderson            Democratic 13 December 1847-5 November 1849      2nd
Charles G. Keenan          Democratic 5 November 1849-3 November 1851       3rd
David Catchings Dickson    Democratic 3 November 1851-7 November 1853       4th
Hardin Richard Runnels     Democratic 7 November 1853-5 November 1855       5th
Hamilton Prioleau Bee      Democratic 5 November 1855-2 November 1857       6th
William S. Taylor          Democratic 2 November 1857-18 January 1858
                                                                            7th
Matthew Fielding Locke     Democratic 18 January 1858-7 November 1859
M. D. K. Taylor            Democratic 7 November 1859—4 November 1861       8th
Constantine W. Buckley     Democratic 4 November 1861-7 December 1861
Nicholas Henry Darnell     Democratic 7 December 1861-1862 [1]
                                                                            9th
Vacant^                                  1862-2 February 1863
Constantine W. Buckley     Democratic 2 February 1863-2 November 1863
M. D. K. Taylor            Democratic 2 November 1863-6 August 1866         10th
Nathaniel Macon Burford    Unionist121   6 August 1866-25 April 1869[3]
                                                                            11th
Vacant[3]                                25 April 1869-8 February 1870
Ira Hobart Evans           Republican 8 February 1870-1871
                                                                            12th
William Henry Sinclair     Republican 1871-14 January 1873
M. D. K. Taylor            Democratic 14 January 1873-13 January 1874       13 th
Guy Morrison Bryan         Democratic 13 January 1874-1876                  14th
Thomas Reuben Bonner       Democratic 1876-1879                             15th
John Hughes Cochran        Democratic 1879-1881                             16th
George Robertson Reeves    Democratic 1881-1883                             17th
Charles Reese Gibson       Democratic 1883-1885                             18th
Lafayette Lumpkin Foster   Democratic 1885-1887                             19th
George Cassety Pendleton   Democratic 1887-1889                             20th
Frank P. Alexander         Democratic 1889-1891                             21st
Robert Teague Milner       Democratic 1891-1893                             22nd
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 John Hughes Cochran        Democratic 1893-1895                      23rd
 Thomas Slater Smith        Democratic 1895-1897                      24th
 L. Travis Dashiell         Democratic 1897-1899                      25th
 James S. Sherrill          Democratic 1899-1901                      26th
 Robert E. Prince           Democratic 1901-1903                      27th
Pat Morris Neff             Democratic 1903-1905                      28th
Francis William Seabury     Democratic 1905-1907                      29th
Thomas Bell Love            Democratic 1907-1909                      30th
Austin Milton Kennedy       Democratic 1909
                                                                      31st
John Wesley Marshall        Democratic 1909-1911
Sam Rayburn                 Democratic 1911-1913                      32nd
Chester H. Terrell          Democratic 1913-1915                      33rd
John William Woods          Democratic 1915-1917                      34th
Franklin Oliver Fuller      Democratic 1917-1919                      35th
Robert Ewing Thomason       Democratic 1919-1921                      36th
Charles Graham Thomas       Democratic 1921-1923                      37th
Richard Ernest Seagler      Democratic 1923-1925                      38th
Lee Satterwhite             Democratic 1925-1927                      39th
Robert Lee Bobbitt          Democratic 1927-1929                      40th
Wingate S. Barron          Democratic 1929-1931                       41st
Fred Hawthorne Minor       Democratic 1931-1933                       42nd
                                                                      43rd
Coke R. Stevenson          Democratic 1933-1937
                                                                      44th
Robert Wilburn Calvert     Democratic 1937-1939                       45th
Robert Emmett Morse        Democratic 1939-1941                       46th
Homer Lakerby Leonard      Democratic 1941-1943                      47th
Price Daniel               Democratic 1943-1945                      48th
Claud H. Gilmer            Democratic 1945-1947                      49th
William 0 . Reed           Democratic 1947-1949                      50th
Thomas Durwood Manford, Jr. Democratic 1949-1951                     51st
                                                                     52nd
Reuben E. Senterfitt       Democratic 1951-1955
                                                                     53rd
Jim T. Lindsey             Democratic 1955-1957                      54th
                                                                     55th
Waggoner Carr              Democratic 1957-1961
                                                                     56th
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Jimmy Turman                          Democratic 1961                                            57th
Byron M. Tunnell                      Democratic 1963                                            58 th
                                                                                                 59th
iBen F. Barnes                        Democratic 1965-1969
                                                                                                60th
                                                                                                 61st
Gus Franklin Mutscher                 Democratic 1969-1972
                                                                                                 62nd
Ray ford Price                        Democratic 1972-1973141
Price D imel. Jr.                     Democratic 1973-1975                                      63id
                                                                                                64th
                                                                                                65th
Bill W. Clayton                       Democratic 1975-1983
                                                                                                66th
                                                                                                67th
                                                                                                68th
                                                                                                69th
Gib Lewis                             Democratic 1983-1993                                      70th
                                                                                                71st
                                                                                                72nd
                                                                                                73rd
                                                                                                74th
Pete Laney                           Democratic 1993-2003                                       75th
                                                                                                76th
                                                                                                77th
                                                                                                78th
Tom Craddick                         Republican 2003-2009                                       79th
                                                                                                80th
                                                                                                81st
Joe Straus                           Republican 2009-present
                                                                                                82nd


Notes
   1. A " b Darnell resigned some time in 1862 to fight in the Civil War, and Buckley was apparently not re-elected
       until the beginning of the First Called Session on 2 February 1863
       A
  2.       Two sources, one contemporary, say Burford was a Democrat:
             • Perez, Joan Jenkins. "Burford, Nathaniel
               Macon" (http://www.tshaonline.org/handbook/online/articles/BB/fbu27.html). Handbook of Texas
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             Encyclopedia of Texas. New York: Southern Publishing Co. 1880. pp. 72-3. OCLC 1843096
              (https://www.worldcat.org/oclc/1843096). Retrieved 2007-01-25. "In politics he has always been a
              firm and consistent Democrat of the true Jackson type."
   3. A " b Moneyhon, Carl H.
       "Reconstruction" (http://www.tshaonline.org/handbook/online/articles/RR/mzrl .html). Handbook of Texas
       Online. Retrieved 2007-01-25.".. .every office filled by an elected official incapable of taking the Test Oath
       would be considered vacant on April 25, 1869"
   4. A Price served as Speaker for the 2nd through the 4th Called Sessions


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[ Speakers of the Republic of Texas House of Representatives ) Lists of Texas politicians
| Lists of speakers of state lower houses in the United States


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